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                                 UNITED STATES DISTRICT COURT
                                      DISTRICT OF MAINE

JADEN BROWN                                  )
                                             )
               V.                            )      No.2:20-cv-428-NT
                                             )
Cumberland County et. al.                    )


                     MOTION TO WITHDRAW AS COUNSEL FOR PLAINTIFF

       NOW COMES Kristine C. Hanly, Counsel for Plaintiff in the above-captioned matter, and

hereby this Honorable Court for leave to withdraw as Counsel for the Plaintiff. In support thereof,

Attorney Hanly further states:

       1. Attorney Hanly previously entered her appearance in the above-entitled matter.

       2. Ms. Brown has since requested that Attorney Hanly withdraw.

       3. Ms. Brown has indicated that she has retained Attorney Jeremy Dean to represent her in this

           matter.

       4. Attorney Jeremey Dean has confirmed that he intends to file an entry of appearance on Ms.

           Brown’s behalf.

       WHEREFORE, Attorney Hanly prays that this Honorable Court grant her motion for leave to

withdraw as Counsel for Plaintiff in this matter.

Dated: June 11, 2021

                                                           /s/ Kristine C. Hanly
                                                           Kristine C. Hanly, 4500
                                                           Attorney forPlaintiff
                                                           Kristine@HanlyLaw.com
Hanly Law
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(207) 699-2278
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on June 11, 2021, I filed the within Motion to withdraw via ECF. I also
served a copy of the enclosed motion to Attorney Peter Marchesi via email at peter@wheelerlegal.com
and to Jaden Brown via email.

                                                          /s/ Kristine C. Hanly
                                                          Kristine C. Hanly, 4500
                                                          Attorney for Plaintiff
                                                          Kristine@HanlyLaw.com
